 4:21-cr-03139-JMG-CRZ Doc # 142 Filed: 07/06/23 Page 1 of 4 - Page ID # 382




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                    Plaintiff,                         4:21-CR-3139

vs.
                                                          ORDER
GEORGE WESLEY WEAVER, JR.,

                    Defendant.


      The defendant has filed a motion (filing 141), the primary point of which
seems to be an attempt to withdraw his guilty plea. The defendant's motion
will be denied.
      A defendant may withdraw a plea after the Court accepts it, but before
imposing sentence, if the defendant can show a fair and just reason for
requesting the withdrawal. Fed. R. Crim. P. 11(d)(2)(B); see United States v.
Forjan, 66 F.4th 739, 751 (8th Cir. 2023). But when a defendant has entered a
knowing and voluntary plea of guilty at a hearing at which he acknowledged
committing the crime, the occasion for setting aside a guilty plea should seldom
arise. Id. The defendant bears the burden of showing a fair and just reason for
withdrawal. United States v. Eller, 955 F.3d 730, 733 (8th Cir. 2020).
      And, even if the defendant meets that burden, the Court must consider
other factors before granting the motion, including whether the defendant
asserts his innocence of the charge, the length of time between the guilty plea
and the motion to withdraw it, and whether the government will be prejudiced
if the court grants the motion. Id. There is no right to withdraw a plea—the
plea of guilty is a solemn act not to be disregarded because of belated
    4:21-cr-03139-JMG-CRZ Doc # 142 Filed: 07/06/23 Page 2 of 4 - Page ID # 383




misgivings about its wisdom. United States v. Flynn, 969 F.3d 873, 877 (8th
Cir. 2020).
         And here, there is no indication in the record of a fair and just reason to
allow the defendant to withdraw his plea.1 The defendant's arguments are both
unpersuasive and inconsistent. He leads with the allegation that his former
counsel "entered into a standard discovery order," filing 141 at 1; presumably,
the defendant's referring to the Court's progression order directing compliance
with Fed. R. Crim. P. 16 and NECrimR 16.1. Filing 17. The defendant cites no
authority for the implicit proposition that a standard discovery order required
his personal consent. See filing 141. Nor is there any reason to believe that in
this complex criminal case, see filing 17, the defendant was disadvantaged by
reciprocal discovery—that is, that he would have been better off without
discovery.
         But most fundamentally, the defendant himself requested discovery
pursuant to Rule 16 and NECrimR 16.1. Filing 138. And that's only the
beginning of the defendant's self-contradiction. He complains about counsel
engaging in discovery, but asked for it himself. He complains about his counsel
purportedly threatening to withdraw because of unpaid legal fees, but then
complains that his counsel actually opposed his motion to discharge counsel
and proceed pro se. See filing 141 at 2, 5-6. He claims that his counsel was
incompetent, filing 141 at 2-3, but testified to the contrary under oath at the



1   Because the defendant hasn't established a fair and just reason to withdraw his plea, the
Court need not consider other factors. See United States v. Seys, 27 F.4th 606, 610 (8th Cir.
2022). But for the sake of completeness, the Court notes that the defendant hasn't made much
of a showing with respect to any other factors either: He doesn't claim factual innocence, he
entered his plea of guilty several months ago, and the government would obviously be
prejudiced by further delays in this important and complex case. See Eller, 955 F.3d at 733.


                                             -2-
 4:21-cr-03139-JMG-CRZ Doc # 142 Filed: 07/06/23 Page 3 of 4 - Page ID # 384




change of plea hearing, filing 122 at 6-7. (Not to mention being told that if his
ability to pay for a lawyer was a problem, counsel would be appointed to
represent him. Filing 122 at 7.)
      The other primary thrust of the defendant's motion relates to his
competency—he seems to have seized on his former counsel's questions about
his ability to obtain a mental health evaluation, and spun that into a general
question about his own competency to pled guilty. See filing 141. But to start
with, a "mental health evaluation" doesn't necessarily concern legal
competency. A substantial number of defendants sentenced by this Court have
obtained mental health evaluations of one form or another, to assist the Court
at sentencing with detailed information about matters such as substance abuse
and mitigating medical factors. Suggesting that a defendant obtain a mental
health evaluation, especially in a drug case, is fairly routine, and certainly
doesn't raise any question of a defendant's competency to proceed.
      Nor is there any basis, on this record, to question the defendant's
competency. He certainly hasn't presented one, see filing 141—nor could he, if
he wants to continue representing himself. The Magistrate Judge specifically
considered competency both in accepting the defendant's guilty plea and in
permitting him to proceed pro se. See filing 119 at 1; filing 137 at 1. And she
did so based on his own representations regarding his ability to proceed, which
were unequivocal. See filing 117 at 1; filing 122 at 5-6. Nor has the defendant
even withdrawn those representations—it's noteworthy that nowhere in his
motion does the defendant actually suggest that he's incompetent, or that his
guilty plea wasn't knowing, intelligent, or voluntary. See filing 141. Rather,
he's just complaining about the lack of a hearing on competency—but on this
record, the proceedings that were held were more than sufficient.




                                      -3-
 4:21-cr-03139-JMG-CRZ Doc # 142 Filed: 07/06/23 Page 4 of 4 - Page ID # 385




      The defendant also says, in passing, that he wants to "review the
discovery and case" to make sure his plea agreement was "suitable," and to
"assist with defending case." Filing 141 at 2. It's not clear how that relates to
withdrawal of a plea. But the Court notes that arrangements have been made
to permit the defendant to review discovery, see filing 140, and that there's
plenty of time before the defendant's October 26, 2023 sentencing, see filing
127, for the defendant to review any relevant evidence.


      IT IS ORDERED that the defendant's motion to withdraw his plea
      (filing 141) is denied.


      Dated this 6th day of July, 2023.


                                            BY THE COURT:



                                            John M. Gerrard
                                            Senior United States District Judge




                                      -4-
